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        ORDERED in the Southern District of Florida on December 13, 2018.




                                                                  Raymond B. Ray, Judge
                                                                  United States Bankruptcy Court
_____________________________________________________________________________


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA

        In re:                                                         Case No. 18-21025-RBR

        CARLOS R. ESTREMADOYRO                                         Chapter 7


                                Debtor.
                                                       /

                 ORDER SUSTAINING TRUSTEE’S OBJECTION TO DEBTOR’S CLAIM OF
                                        EXEMPTION

                  THIS CAUSE having come before the Court for hearing on December 12, 2018 upon the

        Trustee Sonya L. Salkin’s Objection to Debtor’s Claim of Exemptions [ECF #33] (the

        “Objection”). This Court having considered the basis for the Objection, hearing the argument of

        the parties, noting that the Debtor concurs in result ordered hereinbelow, and being otherwise duly

        advised in the premises, then for the reasons stated on the record in open court it is hereby

        ORDERED as follows:

                  1.    The Objection is SUSTAINED to the extent set forth in the Motion.

                  2.    The Debtor’s claim of a homestead exemption in the property located at 6300 SW
                                                           1
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188th Avenue, Southwest Ranches, Florida 33332 as reflected in Schedule “C” [ECF #18], is

DENIED to the extent set forth in paragraph 3 below.

       3.      In the event the property is sold and proceeds would otherwise be due to the Debtor,

then the Debtor will be entitled to 53.19% of the net proceeds of such sale, with the bankruptcy

estate receiving 46.81%, each party sharing pro rata.



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Submitted by: Mark Bonacquisti, Esq.
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Mr. Bonacquisti will serve a signed copy of the order on all interested parties and file a certificate
of service with the Court.




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